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                           UNITED STATES DISTRICT COURT
                                   District of Maine


UNITED STATES OF AMERICA,                    )
                                             )
          Plaintiff                          )
                                             )
v.                                           )      Criminal No. 08-54-P-S
                                             )
RICHARD SZPYT, et al,                        )
                                             )
          Defendants                         )
                                             )


                        ORDER AFFIRMING THE
             RECOMMENDED DECISION OF THE MAGISTRATE JUDGE


       The United States Magistrate Judge filed with the Court on November 9, 2008, his

Recommended Decision (Docket No. 514). Defendant James E. Weston filed his Objection to the

Recommended Decision (Docket No. 552) on November 25, 2008. Defendant Cynthia A. Moore

filed her Objection to the Recommended Decision (Docket No. 553) on November 26, 2008.

December Richard Szpyt filed his Objection to the Recommended Decision (Docket No. 565) on

December 12, 2008. The Government filed its Response to the Objections of Defendants James E.

Weston, Richard W. Szypt and Cynthia A. Moore (Docket No. 569) on December 15, 2008.

       I have reviewed and considered the Magistrate Judge's Recommended Decision, together

with the entire record; I have made a de novo determination of all matters adjudicated by the

Magistrate Judge's Recommended Decision; and I concur with the recommendations of the United

States Magistrate Judge for the reasons set forth in his Recommended Decision, and determine that

no further proceeding is necessary.
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      1.     It is therefore ORDERED that the Recommended Decision of the Magistrate Judge
             is hereby AFFIRMED.

      2.     The Proposed Findings of Fact herein are ADOPTED.

      3.     It is hereby ORDERED that Defendant Charles Green’s Motion to Suppress (Docket
             No. 366) and Defendant Michael Balot’s Motion to Suppress (Docket No. 437) are
             DISMISSED AS MOOT.

      4.     It is hereby ORDERED that Defendants’ Motions to Join filed by Kelley Monahan
             (Docket No. 374), Michael Martin (Docket No. 381), and Andre T. Charron (Docket
             No. 388) are GRANTED.

      5.     It is hereby ORDERED that Defendants’ Motions to Join and Suppress filed by
             Robert L. Sanborn, Jr. (Docket No. 375), Lara Sanborn (Docket No. 377), and Walter
             D. Towle, Jr. (Docket No. 378) are GRANTED to the extent they join Defendant
             James E. Weston’s Motion to Suppress (Docket No. 346), and are otherwise
             DENIED.

      6.     It is hereby ORDERED that Defendants’ Motions to Suppress filed by James E.
             Weston (Docket No. 346), Cynthia Moore (Docket No. 352), Sherwood K. Jordan
             (Docket No. 357), and Daniel A. Guarino (Docket No. 368) are DENIED.


                                                  /s/George Z. Singal_____________
                                                  Chief U.S. District Judge

Dated: December 18, 2008
